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    1                      UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
    2
                           CASE NO.: 1:18-CR-20565-MGC-2
    3

    4
         UNITED STATES OF AMERICA                Miami, Florida
    5

    6                                            January 16, 2019
                                                 Wednesday
    7
                    vs.
    8

    9    SANDRA MILENA RUIZ ARANGO               Scheduled for 9:30 a.m.
                                                 9:51 a.m. - 10:20 a.m.
   10

   11                                            Pages 1 - 26

   12    _______________________________________________________

   13                           SENTENCING HEARING

   14                     BEFORE THE HONORABLE MARCIA G. COOKE
                              UNITED STATES DISTRICT JUDGE
   15
         APPEARANCES:
   16
         FOR THE PLAINTIFF:          JONATHAN KENT OSBORNE, AUSA
   17                                U.S. Attorney's Office
                                     HIDTA
   18                                11200 NW 20th Street
                                     Suite 101
   19                                Miami, Florida 33172

   20
         FOR THE DEFENDANT:          OSCAR ARROYAVE,P.A.
   21                                Law Offices Oscar Arroyave P.A.
                                     2937 SW 27th Avenue
   22                                Coconut Grove, Florida 33133

   23    STENOGRAPHICALLY
         REPORTED BY:                GLENDA M. POWERS, FPR, CRR, FPR
   24                                Official Federal Court Reporter
                                     United States District Court
   25                                400 North Miami Avenue
                                     Miami, Florida 33128
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    1              (Call to the order of the Court:)

    2              (Defendant Sandra Milena Ruiz Arango being assisted by

    3    certified Spanish court interpreters.)

    4              COURTROOM DEPUTY:    United States of America versus

    5    Sandra Milena Ruiz Arango, Case Number 18-20565.

    6              THE COURT:   For the record, appearing on behalf of the

    7    United States.

    8              MR. OSBORNE:    Good morning, Your Honor.      Jonathan

    9    Osborne and FBI agent Joseph Jesorski (phonetic), on behalf

   10    United States.

   11              MR. ARROYAVE:    Oscar Arroyave, on behalf of Sandra

   12    Milena Ruiz Arango, who is before the Court with the assistance

   13    of a Spanish speaking interpreter.

   14              THE COURT:   Probation and spectators may be seated.

   15    Today is the date and time, counsel, set for sentencing of your

   16    client in this matter.

   17              For the record, I do have Docket Entry number 53, which

   18    is the United States motion for sentencing reduction pursuant

   19    to 5K1.1.

   20              Before we proceed with other sentencing issues,

   21    Mr. Osborne, would you care to speak on that motion?

   22              MR. OSBORNE:    Yes, Your Honor.

   23              The basis for the motion is that the defendant, from

   24    the time that she was encountered by the FBI, provided a

   25    statement post-Miranda in which she admitted her knowing
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    1    acceptance of the money involved in this case, on behalf of the

    2    other defendant in this case, Jose Piedrahita, knowing that he

    3    was, essentially, banned from doing any commerce in the

    4    United States, pursuant to what she called the "Clinton list,"

    5    otherwise, the OFAC list, which comprised the Kingpin violation

    6    alleged in the indictment.

    7               After that point, the defendant agreed to continue

    8    cooperating, with the advice of counsel, and was debriefed by

    9    the FBI.    In addition, Your Honor, the defendant was disclosed

   10    as a potential witness against her co-defendant in the event

   11    that he went to trial.      Subsequent to that disclosure of her as

   12    a witness, he pled guilty.

   13               Mr. Arroyave, anything else on that?

   14               Just for the record, I saw that 20 percent reduction.

   15               MR. OSBORNE:    Yes, Your Honor.

   16               THE COURT:   Mr. Arroyave.

   17               MR. ARROYAVE:    Your Honor, we are grateful to the

   18    Government for acknowledging Ms. Ruiz Arango's cooperation.           We

   19    would ask that the Court consider a higher reduction than the

   20    20 percent, and I would ask that the reduction be two levels

   21    from the applicable offense level.

   22               THE COURT:   At the present time, I think it does take

   23    it down two levels, and probation can correct me if I am wrong,

   24    she's presently at total offense level of 17, and if we did the

   25    20 percent reduction, does that bring her down to offense level
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    1    of 12?

    2              THE PROBATION OFFICER:     The offense level of 12 would

    3    be without the enhancement for the knowledge of the funds.

    4              MR. OSBORNE:    Correct.

    5              THE COURT:   That's what I wanted to ask.       Was there any

    6    agreement about that, the knowledge issue, in the discussion of

    7    the plea agreement in this case?

    8              MR. OSBORNE:    Your Honor, there was, and if I could

    9    just provide some context for that.

   10              THE COURT:   Please.

   11              MR. OSBORNE:    At the outset, I know -- I believe that

   12    probation has selected the correct guideline, meaning the 2S

   13    guidelines, however, in this case, this specific defendant

   14    presents unusual circumstances.

   15              In this case, she was told -- basically, asked -- to go

   16    pick up money on behalf of her co-defendant.

   17              We don't have any evidence or any indication that at

   18    that time she was told by the co-defendant, or anyone else,

   19    where the money came from.       She went to pick up the money

   20    knowing that it was on behalf of an individual who was on the

   21    Kingpin list.

   22              THE COURT:   So she -- you're saying, she didn't have

   23    complete knowledge of the persons OFAC list designation, the

   24    Kingpin designation?

   25              MR. OSBORNE:    I think she knew that.     The evidence
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    1    showed that she knew that, but that she did not know that the

    2    money she was picking up was from drug trafficking.          So she

    3    gets to the parking lot, at that point, Mr. Mayhow (phonetic),

    4    who was a cooperating defendant working with the FBI, is

    5    sitting in the car where we were, at that point he tells her

    6    how much it is, it's a lot of money, and he tells her that the

    7    money is dirty, and he mentions that it's from the sale of

    8    pills, but from our evidence, we had no indication before that

    9    point that she went to the parking lot to partake in a drug

   10    crime.

   11              THE COURT:   All right, I believe that the probation

   12    analysis is correct, but given the unique factual circumstances

   13    and how the plea was negotiated between the parties in this

   14    case, they didn't anticipate that that would be an enhancement

   15    that would apply to this defendant, so I'm going to ask for a

   16    re-calculation at that amount, which I think our discussion's

   17    been bringing it down to a total level of 12.

   18              THE PROBATION OFFICER:     Level of 12, correct.

   19              THE COURT:   So, based upon that correction, we're now

   20    at a total offense level of 12, a criminal history category of

   21    10 to 16.    Is that before the 20 percent off from the

   22    Government?

   23              THE PROBATION OFFICER:     No, the --

   24              THE COURT:   That includes the 20 percent off from the

   25    Government?
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    1              THE PROBATION OFFICER:     It does not.

    2              THE COURT:   It does not.    So, okay, I went to law

    3    school so I wouldn't have to do math, and here I am doing math.

    4              So now, prior to the 5K1, the total offense level is 12

    5    and the guideline range is 10 to 16 months, so we're talking,

    6    Mr. Arroyave, about 20 percent off the bottom of the 10-month

    7    guideline range?

    8              MR. ARROYAVE:    Yes, Your Honor.     I would like to speak

    9    to that for a moment, Your Honor.

   10              When I first got this case and when we looked like we

   11    were on the path to resolving it by a plea agreement, I started

   12    researching the application of the guidelines to this case, and

   13    I realized that we were in unchartered territory, or perhaps

   14    poorly-charted territory.

   15              This is the second case in the United States that's

   16    been prosecuted under this statute.

   17              There was one prior case here in this district, and

   18    that case they applied the money laundering guidelines because

   19    it involved picking up checks and depositing it in accounts,

   20    taking steps to disguise the origins of the money, and trying

   21    to bring it back into the financial system.

   22              What I did was, I hired an expert in guidelines,

   23    somebody who had worked for the office here for 24 years, and

   24    him and his partner, or associate, determined that what was

   25    being proposed by the Government, which was the application of
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    1    2B1.1, and not 2S.1, was correct, and it should be applied, and

    2    he called and spoke with the sentencing guideline commission

    3    hotline, who advised him, basically, that there's no correct or

    4    incorrect answer, that it could be either/or, it could be

    5    either/or.

    6              And I would submit to the Court that when there's a

    7    tie, the benefit should go to the defendant.         The difference is

    8    two additional points, Your Honor.

    9              The calculation that we did under -- in the plea

   10    agreement -- is that it would be under 2B1.1 start at level 14,

   11    start at 6 plus 8, not 8 plus 8, like the probation office has

   12    in the PSR.

   13              So we would start at a base offense level of 14, and

   14    then she'd get 2 for role, an adjusted offense level of 12,

   15    minus 2 for acceptance, she would be a level 10 before a 5K,

   16    that would be 6 to 12-month range.

   17              That's what was contemplated in the plea agreement,

   18    that's something that I was a little bit unfamiliar with, and I

   19    tried and verified it with Mr. Valesco -- who's the

   20    consultant -- the guideline consultant, and his position was

   21    that based on the facts of the case and what is known from the

   22    defendant's overt acts described in the indictment, it would be

   23    reasonable to apply 2B1.1, as opposed to the money laundering

   24    2S1.1, as suggested in the plea agreement by the Government.

   25              THE COURT:   Let's go back for a moment and,
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    1    Mr. Osborne, maybe you can assist me here.

    2              MR. OSBORNE:    Yes, Your Honor.

    3              THE COURT:   Were you anticipating 2S guideline analysis

    4    or 2B guideline analysis when you and Mr. Arroyave were

    5    negotiating the plea in this case?

    6              MR. OSBORNE:    Your Honor, we agreed to recommend the 2B

    7    guidelines, but we both understood that it was possible to

    8    analyze the case under either.

    9              Does this answer the Court's question?

   10              MR. ARROYAVE:    And the computation is set out in

   11    paragraph 8 of the plea agreement, that it's 14 minus 2 for

   12    role, at the adjusted level, before acceptance, would be 12,

   13    after acceptance, would be 10.

   14              THE COURT:   Which paragraph of the plea agreement,

   15    Mr. Arroyave?

   16              MR. ARROYAVE:    Your Honor, that's on page four of the

   17    plea agreement, paragraph 8.      At the top.

   18              And, Your Honor, I submit, it makes a difference,

   19    because at the 2 level, the 5K would put her in zone A.

   20              THE COURT:   Okay.   The guideline for violation of 21

   21    U.S.C. 1904(c)(2) is 2S1.1 for the 1.        That's the guideline.

   22              To probation, that's the guideline for this offense,

   23    statutory offense.

   24              THE PROBATION OFFICER:     There is no guideline for this

   25    statutory offense.
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    1              THE COURT:   Okay.

    2              THE PROBATION OFFICER:     But the guidelines direct you

    3    to apply the most analogous, and in this case our office went

    4    with the 2S1.1 because the conduct is the money laundering

    5    versus the fraud guideline.

    6              MR. ARROYAVE:    The most analogous, well, I would

    7    suggest, Your Honor, that --

    8              THE COURT:   She wasn't defrauding anyone; was she?

    9              MR. ARROYAVE:    Well, Your Honor, in effect, it was the

   10    Government's money at that point, it was the Government's

   11    money, and the analysis that the other person did --

   12              THE COURT:   I think I like the creativity, I'm just not

   13    sure that's what it would be.      I mean, if this were -- let's

   14    just take it out of the drug-pin, king-pin sort of analysis.

   15              What if your client ran a beauty salon and every

   16    week -- gosh, this is an episode of a TV show -- and every week

   17    someone brought $15,000 that just got mixed into her till, and

   18    she wrote them a check for $15,000 the next week, that's

   19    classic money laundering, dirty money in the clean money; the

   20    person is getting the clean money from outside the business,

   21    let's say, they're called to consult, however, however you want

   22    to cover the lines, that's classic money laundering; right?

   23              MR. ARROYAVE:    She would be charged with money

   24    laundering in that case.

   25              The violation here is the Kingpin statute and,
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     1   furthermore, but --

     2             THE COURT:    But the conduct -- we're supposed to look

     3   at the conduct that's most closely analogous.         This is not a

     4   situation where -- let's say there was a tax due and owing and

     5   somehow the taxes were manipulated in a way that someone paid

     6   less taxes to the United States Government, so they were

     7   defrauding the Government out of something.

     8             MR. OSBORNE:    Your Honor, and like I said, at the

     9   outset and at the time of the plea negotiation, because it's

   10    not listed in the guidelines, we were both doing our best to

   11    try to figure out what would apply.

   12              I think that probation's analysis is reasonable, and

   13    the Court could follow it.       The basis, from the Government's

   14    perspective, for the 2B recommendation in the plea agreement is

   15    not that it was Government money.        We use Government money to

   16    buy drugs all the time, people are not charged with fraud,

   17    they're charged with drug trafficking.

   18              In this instance, what this defendant believed compared

   19    to her co-defendant, or the cooperating defendant, before

   20    Judge Williams, she believed she was going to pick up money to

   21    pay for an attorney for the co-defendant's dad.

   22              And so, from the Government's standpoint, if we were to

   23    have to prove this, that she knew it was drug money, we don't

   24    have the mens rea of the drug aspect when she went to conduct

   25    this transaction.
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     1             In her post-Miranda statement, she was interviewed

     2   extensively by the FBI, and she admitted that she knew these

     3   guys were on the Kingpin list, but she was adamant that she did

     4   not intentionally participate in a drug crime, or in a crime to

     5   disguise drug money.

     6             And that was from the Government's standpoint why, if

     7   there's a tie, we agree to recommend the money crime of 2B, as

     8   opposed to the money laundering crime, which her co-defendant

     9   was certainly trying to commit, of 2S.

   10              THE COURT:    Well, I think the money laundering crime is

   11    the more closely analogous to the conduct.         I understand that

   12    counsel disagrees.     Your disagreement over that calculation is

   13    noted for the record.

   14              So... I understand, Mr. Arroyave, we just disagree.

   15              MR. ARROYAVE:    Your Honor, I understand, and I would

   16    accept, and I would ask the Court to consider that aspect of

   17    the plea agreement, the negotiations in the context of a

   18    variance, because we did rely on that representation, and it

   19    was an ambiguous area, and I tried to have it confirmed by an

   20    expert.

   21              THE COURT:    So if I were to follow your analysis for

   22    sentencing, Mr. Arroyave, you're saying that the total offense

   23    level would be 10?

   24              MR. ARROYAVE:    I'm saying that the -- excuse me one

   25    second, please -- I'm saying that the total offense level in
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     1   this case, Your Honor, would be 10, correct.

     2             THE COURT:    And that gives a guideline range of eight

     3   to --

     4             THE PROBATION OFFICER:      Six to 12 months.

     5             MR. ARROYAVE:    Six to 12 months, all right.

     6             MR. OSBORNE:    Your Honor, if I may respond to

     7   Mr. Arroyave?

     8             THE COURT:    Yes, Mr. Osborne.

     9             MR. OSBORNE:    The Court has multiple grounds under

   10    which to analyze this case under 3553.        I don't think a

   11    statement that either side relied on the plea recommendation as

   12    a basis, because the plea agreement says, explicitly, that the

   13    Court, nor probation, is bound by our recommendation.

   14              MR. ARROYAVE:    That's correct.

   15              THE COURT:    Are there additional 3553 factors,

   16    Mr. Arroyave, that you wish to argue on behalf of Ms. Ruiz

   17    Arango's behalf?

   18              MR. ARROYAVE:    Yes, Your Honor.

   19              Regarding her history and her characteristics, she has

   20    always been a hard-working, law-abiding, God-fearing person.

   21    She's always strived to improve herself through education.

   22    She's always tried to lead a productive life.

   23              Her and her husband are working people, they have been

   24    married six years, they live a modest life.         They drive a

   25    four-year-old car, and they live in an apartment.          They pay
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     1   $1500 a month rent -- I may be incorrect about the rent --

     2   $1320 rent, and they take on a boarder to help subsidize the

     3   rent.

     4             She has never had any contact whatsoever with the

     5   criminal justice system, and she spends a lot of time with her

     6   church providing community service, feeding the poor, feeding

     7   the homeless, and she does that -- she's been doing that before

     8   she was ever involved in this case, it's not something new that

     9   she is doing to try to seek a mitigation argument.          This is

   10    just the type of person that she is.

   11              I don't believe that she poses a danger to society, or

   12    that she needs to be deterred from any future conduct.           The

   13    consequences, the most severe consequence of this case, for

   14    her, are the collateral consequences.        She's a nurse.     She

   15    studied nursing in Colombia.       She wanted to be a nurse here,

   16    she wanted to be an R.N. here, she was going to go to school

   17    for that.    She was learning English to do that.

   18              She will never be a nurse here, she will never be able

   19    to get a license to be a nurse as a result of this conviction.

   20              I would suggest to the Court that even a time-served

   21    sentence would be reasonable in this case, but if the Court

   22    requires, or would like, a short probationary period, I think

   23    that she would have no problem with that.         In effect, she's

   24    been on probation for the last eight months.

   25              When she was arrested, or when she first made contact
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     1   with the agents, it was known to her that they were going to

     2   come back for her, that they were going to come back, and this

     3   was in May of 2018, and they came back in July.

     4             And she told me that they expressed surprise that she

     5   was still there.     She suggested that perhaps she could have

     6   fled and she didn't flee.      She was right in the same place

     7   where she took them to search her house and she stayed there,

     8   and then she was put on bond.       At one point, she had an ankle

     9   monitor, she was on house arrest, she's complied with every

   10    condition of bond.

   11              Recently, she traveled to Colombia.        We filed a motion

   12    for her to travel to Colombia, and that motion was subject to

   13    humor from some other defense attorneys, they thought it was a

   14    joke that I was asking for it.       Mr. Osborne was good enough to

   15    agree to it.    She traveled to Colombia, she came back last

   16    night to be sentenced.      So, that's the kind of person she is,

   17    Your Honor.

   18              I don't think she needs rehabilitation.        I don't think

   19    she needs jail.     I don't think society needs her to be punished

   20    any further than, perhaps, a short period of probation, but I

   21    would ask the Court to consider a time-served sentence.

   22              THE COURT:    Before I hear from your client, let me hear

   23    from the United States.

   24              MR. OSBORNE:    Your Honor, the United States opposes a

   25    sentence of time served in this case, as well as probation.
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     1   It's my view that a sentence of at least home confinement, if

     2   not imprisonment, at the bottom of the guidelines is

     3   appropriate, considering that the range that we've reached in

     4   this case already takes into account minor role.

     5             The Court has agreed not to impose the six-level

     6   enhancement for potentially promoting a drug trafficking

     7   offense of money laundering and, Your Honor, I agree with many

     8   of the things that counsel said about the defendant, in that

     9   she does not have a long history of committing crimes, she, I

   10    believe him when he says that she does things in the community

   11    on behalf of the less fortunate, but on the other side of the

   12    case, she was affiliated with a person, who, for good reason,

   13    is part of a family that is on the OFAC list, and she agreed to

   14    commit what she knew to be a crime in that parking lot; and

   15    that case, had it not been an undercover officer in that car,

   16    could have had very, very serious implications for the

   17    community and also for Colombia.       And that's the reason for the

   18    OFAC list, Your Honor.

   19              Those are the recommendations, but I think that the

   20    Court has already granted a degree of mercy in the guidelines'

   21    calculation, and the United States is recommending that the

   22    degree of mercy with the 20 percent sentencing recommendation.

   23              THE COURT:    Thank you, Mr. Osborne.

   24              Does your client wish to address the Court?

   25              MR. ARROYAVE:    Yes, and if I could just respond
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     1   briefly --

     2             THE COURT:    Very briefly.

     3             MR. ARROYAVE:    So, this case involved a drug

     4   transaction of pills.      She was not part of that drug

     5   transaction at all, she had nothing whatsoever to do with that

     6   transaction.    When she left her house that morning, she had no

     7   knowledge that that transaction ever occurred.          She learned

     8   about it afterwards from the questions that the agents and

     9   investigation about the case.

   10              Regarding the family, this family, the Piedrahita

   11    family in Colombia, her connection with that family is -- she

   12    doesn't have a direct connection with that family.          It's her

   13    sister, who is the girlfriend of one of the sons in the family,

   14    and that son's brother was the one that asked the sister if she

   15    could ask her to do a favor, so she was doing a favor for her

   16    sister, she didn't think that it was dirty money.

   17              When she went there that morning, she didn't set out to

   18    commit a crime.     In a split second -- you know, she made a

   19    mistake -- she didn't realize it was going to be $100,000.             She

   20    had a conversation with her husband before she left about it,

   21    and she was thinking that it was somewhere less than $10,000

   22    that she was going to get for the payment of a lawyer, that was

   23    the money.

   24              So, Your Honor, you know, regarding consideration of

   25    the role and the guidelines, we negotiated a plea agreement.            I
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     1   think that we should get the benefit of that plea agreement.

     2   The role is what it is, that's what she did.         In other words,

     3   that should not disqualify her from the Court considering a

     4   probationary sentence.

     5             And if the Court is inclined to do something other than

     6   probation, I would ask the Court to consider home confinement,

     7   not to have her going to a jail, have her go to home

     8   confinement, perhaps it could be probation with the condition

     9   of home confinement for a couple of months, very few months.

   10              Thank you, Your Honor.

   11              THE DEFENDANT:     Good morning, Your Honor.

   12              Your Honor, as my attorney said previously, I'm a

   13    hard-working person, I'm a person who is studious, and

   14    religious.

   15              Never in my life had I made a mistake, nor had I had

   16    any problems with the justice system.        That day, I left, not

   17    planning to make any mistake or to do anything against the law,

   18    and I am sorry for the mistake that I made.

   19              I have agreed to cooperate with the justice system, and

   20    I ask Your Honor to have consideration towards me.

   21              Thank you very much, Your Honor.

   22              THE COURT:    After our review of the -- first of all,

   23    the Government's motion pursuant to 5K1.1 is granted.           And

   24    after a review of the 3553 factors, the arguments of counsel,

   25    and the guidelines in this case, I sentence the defendant as
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     1   follows:

     2              It is the judgment of the Court the defendant is hereby

     3   placed on probation for a period of three years with the

     4   following special conditions:

     5              The first six months are on house arrest with home

     6   confinement, with the standard conditions for that type of

     7   sentence.    She's to pay the cost for the appropriate electronic

     8   monitoring device, she's to abide by the other standard

     9   conditions of probation, and any special conditions that are

   10    outlined in part F of the presentence report, and pay the

   11    special assessment of $100, and forfeit any right, title and

   12    interest in any property consistent with the plea agreement.

   13               Now, I know, counsel, I have allowed your client to

   14    travel outside the United States.        But absent something grave,

   15    she should understand that during, at least this next six

   16    months, no outside-of-the-country travel will be allowed, and

   17    I'll revisit it if I think it's appropriate later.

   18               Now that sentence has been imposed, does the defendant

   19    or her counsel object to the Court's finding of fact, or the

   20    manner in which sentence was pronounced?

   21               MR. ARROYAVE:    No, Your Honor.

   22               THE COURT:    Ma'am, you do have a right to appeal the

   23    sentence imposed.       Any notice of appeal must be filed within 14

   24    days.   If you're unable to pay the cost of appeal, you may

   25    apply for leave to appeal in forma pauperis.
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     1             Anything further on behalf of the United States?

     2             Did I say the special assessment of $100, to

     3   probation -- just a moment, Mr. Osborne -- I thought you wanted

     4   to make sure I got something right for the record.

     5             MR. OSBORNE:    Your Honor, the Government moves to

     6   dismiss the remaining counts of the indictment.

     7             THE COURT:    The remaining counts of the indictment as

     8   to this defendant are hereby dismissed.

     9             MR. ARROYAVE:    Would the Court entertain a motion for

   10    early termination of probation in the future, assuming she --

   11              THE COURT:    You know, Mr. Arroyave --

   12              MR. ARROYAVE:    Perhaps in a year --

   13              THE COURT:    Perhaps, but listen, I have -- none of this

   14    makes sense without money.       Drug dealing doesn't make sense

   15    without money, fraud doesn't make sense without money, and

   16    right now, this community is just operating on a lot of money,

   17    and they're ill-gotten money, I want to say that, and there are

   18    a lot of people that get up everyday in this community and try

   19    to do it the right way, they try to go to work, they try to

   20    live by the rules, and I think just automatically discounting

   21    this behavior because of the financial nature of the crime sort

   22    of slaps the face of everyone who, like I said, gets up and

   23    does work, some of it not very pretty, just to make sure

   24    they're abiding by the rules and make a law abiding life.           I'm

   25    not going to say no, but I think there needs to be some penalty
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     1   for this type of behavior.

     2             MR. ARROYAVE:    Thank you, Your Honor.

     3             THE PROBATION OFFICER:      Clarification, are we to keep

     4   her passport?

     5             THE COURT:    Yes, her passport remains with probation.

     6             THE PROBATION OFFICER:      Is she allowed to work -- or

     7   with house arrest?

     8             THE COURT:    She can work, and set up the appropriate

     9   conditions that probation would do with the appropriate curfew,

   10    given her employment hours.

   11              MR. ARROYAVE:    Working, and also attend school,

   12    Your Honor, which she does?

   13              THE COURT:    Probation will work it out.      They know how

   14    the rules go.     Once she gives them a school schedule, they will

   15    make sure she's doing what she's supposed to do.

   16              All right, thank you.

   17              MR. ARROYAVE:    Thank you, Your Honor.

   18              (Proceedings concluded at 10:20 a.m.)

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     1                          C E R T I F I C A T E

     2
                     I hereby certify that the foregoing is an
     3
                   accurate transcription of the proceedings in the
     4
                   above-entitled matter.
     5

     6             February 1st, 2019       Glenda M. Powers
                                            GLENDA M. POWERS, RPR, CRR, FPR
     7                                      United States District Court
                                            400 North Miami Avenue, 08S33
     8                                      Miami, Florida 33128

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